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                            THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

                               CASE NO.: 8:08-cv-1074-T-26EAJ

SONYA HUISMAN, as Personal
Representative of the Estate of STEVEN
HUISMAN, deceased,

               Plaintiff,

vs.

PRATT & WHITNEY CANADA, a United
Technologies Co., a foreign corporation;
HONEYWELL INTERNATIONAL, INC., a
foreign corporation; WOODWARD
GOVERNOR CO., a foreign corporation;
RAYTHEON AIRCRAFT CORPORATION,
n/k/a HAWKER BEECHCRAFT
CORPORATION, a foreign corporation;
DYNAMIC AVIATION GROUP, INC., a
foreign corporation; DYNAMIC AVLEASE,
INC., a foreign corporation; DYNAMIC AIR,
a foreign corporation; K & K AIRCRAFT,
INC., a foreign corporation; HARTZELL
PROPELLER INC., a foreign corporation; and
THE UNITED STATES OF AMERICA,

               Defendants.
                                              /


             DEFENDANT HAWKER BEECHCRAFT CORPORATION’S
              RENEWED MOTION IN LIMINE TO LIMIT EVIDENCE
              OF ALLEGED DEFECTS ON THE SUBJECT AIRCRAFT
    TO EVIDENCE RELEVANT UNDER THE NARROW GARA EXCEPTION INVOKED
                    AND REQUEST FOR ORAL ARGUMENT

         Defendant HAWKER BEECHCRAFT CORPORATION (“HBC”), by and through its

undersigned counsel, requests this Court to grant its Renewed1 Motion in Limine to limit


1
 HBC originally filed this Motion in Limine with the Court on July 2, 2010. [Doc. 153]. On July
6, 2010, Judge Lazzara issued an order denying the Motion without prejudice, requesting instead
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evidence of alleged defects on the Subject Aircraft to evidence relevant under the narrow

exception to the General Aviation Revitalization Act (“GARA”) Plaintiff invoked in this case.

HBC seeks to exclude irrelevant argument, testimony, and/or evidence of any causal issues or

defects of any part of the Subject Aircraft other than the circuit board corresponding to the right

engine. Pursuant to Local Rule 3.01(j), HBC further requests this Court to grant oral argument

on the instant Motion. It is estimated that the time required for the argument is one hour.

       In support of this Motion, HBC states as follows: HBC anticipates that Plaintiff intends

to offer evidence that her experts are critical of the secondary low pitch stop system (“SLPS

system”) in general; that they are critical of the SLPS box (a metal box that houses the SLPS

circuit boards); and that Plaintiff may attempt to offer evidence of other alleged defects

concerning parts or components of the Subject Aircraft, and that the use of the SLPS system was

discontinued on later aircraft that utilized different engines. As demonstrated below, however,

the only part at issue in this case is the circuit board associated with the SLPS on the right

engine.2 Because no other part of the Subject Aircraft is relevant to Plaintiff’s claims in this

lawsuit, evidence that any other part of the Subject Aircraft was defectively designed or

defectively manufactured is irrelevant, substantially and unduly prejudicial, and should not be

admitted. The following legal memorandum is filed in further support of this motion in limine.




that the parties raise all evidentiary issues in the trial briefs. [Doc. 159]. HBC addressed the
evidentiary issues contained within this Motion in its trial brief, but renews the Motion so that
this Court may issue a ruling on same prior to trial.
2
   The circuit board associated with the SLPS on the right-hand engine is the only part of the
Subject Aircraft that Plaintiff claims was replaced within 18 years of the accident. Therefore, it
is the only part of the Subject Aircraft that could possibly be subject to the General Aviation
Revitalization Act’s rolling provision.



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                        I.      STATEMENT OF RELEVANT FACTS

         It is undisputed that the Subject Aircraft was originally manufactured in 1967 and was

delivered to its first purchaser, the United States Army, that same year. (See HBC’s Statement of

Undisputed Facts in Support of Its Motion for Summary Judgment, Doc. 112, SOFs 7-8 and

Plaintiff’s responses thereto, Doc. 124.)3 The parties agree that the Subject Aircraft was more

than 38 years old on the date of the accident at issue in this lawsuit, and that it had a maximum

seating capacity of fewer than 20 passengers. (HBC’s SOFs 11-12 and Plaintiff’s responses

thereto.) Further, the parties agree that the Subject Aircraft was not engaged in scheduled

passenger carrying operations as defined under regulations in effect under the Federal Aviation

Act of 1958. (HBC’s SOF 13 and Plaintiff’s response thereto.) The parties also agree that HBC

never maintained, operated, repaired, or had possession of the Subject Aircraft since its initial

delivery in 1967. (HBC’s SOF 10 and Plaintiff’s response thereto.)

         Plaintiff claims that the circuit board corresponding to the right engine was replaced on

March 2, 2006. (See Plaintiff’s response to HBC’s SOF 23.) If this were true4, it might

constitute a replacement part added to the Subject Aircraft within 18 years of the accident, as

required to avoid the bar of GARA’s statute of repose with respect to claims caused by the

failure of that part. (See Coffman Depo. at 38:17-24, Doc. 112-11 [containing plaintiff’s expert’s

candid admission that one of his duties was to help Plaintiff get around GARA by finding a part

that was placed on the Subject Aircraft within 18 years of the accident].)


3
  Hereinafter, referenced as “HBC’s SOFs.”
4
   There is absolutely no evidence to support Plaintiff’s claim that a single component located
within the SLPS box -- a circuit board dealing with the right hand engine -- was replaced three
months before the accident. Rather, the records for the airplane show that there was no such
replacement. The individuals responsible for repairing and maintaining the plane have also
testified that no circuit board in the SLPS box was replaced. Furthermore, it is undisputed that
HBC did not manufacture the circuit board that was allegedly replaced. Therefore, HBC cannot
be held liable for any defect in the circuit board, even if it was replaced.


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        It is anticipated, however, that Plaintiff will attempt to present evidence of alleged defects

and causation linking other parts of the Subject Aircraft to the accident at issue in this case. For

example, Plaintiff’s experts were mostly critical of the design of the metal box that housed the

SLPS circuit boards. They made several criticisms, including that the holes in the box permitted

moisture and corrosive elements such as salt water to damage the circuit boards.                 It is

uncontroverted, however, that this SLPS box was on the Subject Aircraft for more than 18 years

prior to the accident. (See HBC’s SOF 23 and Plaintiff’s nonresponsive answer thereto.) As

discussed in the Argument and Authority section, GARA generally bars products liability claims

where the allegedly-defective part was installed more than 18 years prior to the accident,

regardless of whether the Plaintiff can causally tie the part to the accident.

        It is also anticipated that Plaintiff will attempt to present blanket evidence that certain of

the King Air series aircraft (the civilian counterpart of this surplus military U-21) were “plagued

by problems” because of the SLPS system. (Sommer Depo. at 55:23-56:14, Docs. 112-1 and

112-2.) According to Plaintiff’s expert, Donald Sommer, “They were taking [the SLPS system]

out of airplanes as quickly as they could because they were problematical.” (Sommer Depo. at

56:20-22.)

        Mr. Sommer, however, acknowledged that the SLPS removal kit was not applicable to

the military version of the aircraft, which would include the Subject Aircraft. (Sommer Depo. at

82:22 – 83:7.) Further, there is no evidence anywhere in the record that the history of the SLPS

system and why its inclusion in certain civilian aircraft was discontinued are in any way related

to Plaintiff’s claims in this case.




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                           II.     ARGUMENT AND AUTHORITIES

       A.              The General Aviation Revitalization Act

       The General Aviation Revitalization Act, 49 U.S.C. § 40101 (Note 1994); Pub. L. 103-

298, 108 Stat. 1552 (1994), provides an 18 year statute of repose specifically applicable to

actions involving general aviation aircraft. It is applicable in all American courts, both state and

federal. Aircraft in successful service for 18 years are conclusively deemed to be non-defective

and cannot be the basis for any action, thus giving the relevant manufacturers appropriate

“repose” from any further liability related to the aircraft.

       Under GARA, if a new or replacement part is installed on an aircraft within the original

18-year period of repose, the repose period “rolls” and begins again as to the manufacturer of

that newly-installed part, if the accident at issue was caused by that part. E.g., Campbell v.

Parker-Hannifin Corp., 82 Cal.Rptr.2d 202, 209 (Cal. Ct. App. 1999). For the rolling feature to

apply, Plaintiff must: (1) identify a new or replacement part that was placed on the Subject

Aircraft within 18 years before the accident; (2) direct her claims at that part’s manufacturer; and

(3) establish that the replacement part caused Plaintiff’s injury. Id.

       Because it is uncontroverted that GARA applies to the Subject Aircraft – and because the

only exception Plaintiff identified is the replacement part provision – it stands to reason that

Plaintiff should only be able to present evidence of alleged defects with respect to the single part

that she claims was both (1) installed on the Subject Aircraft within 18 years of the accident and

(2) causally related to the accident. E.g., Sheesley v. Cessna Aircraft Co., 2006 WL 3042793 (D.

S.D. October 24, 2006). In that case, defendant Cessna moved in limine to exclude the plaintiffs

from presenting evidence of any defect in the accident aircraft other than the left westgate elbow.

Id. at *6. First, the court determined that GARA barred a cause of action for defects other than

the left westgate elbow, because that was the only part replaced within 18 years of the accident


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that plaintiffs claimed was causally related to the accident. Id. at *7-8. The plaintiffs, therefore,

could not recover for defects in parts or components other than the left westgate elbow. Id. at *8.

Next, the court analyzed whether evidence of alleged defects in parts or components other than

the left westgate elbow would be irrelevant under FED. R. EVID. 401 and/or more prejudicial than

probative under FED. R. EVID. 403. The court determined that defects in the design of other parts

or components would not be relevant to explain how a defective left westgate elbow caused the

aircraft to crash. Id. at *8. Evidence that other parts or components were defective, therefore,

was not relevant or admissible because GARA already barred Cessna from liability based upon

those other parts or components. Id.

       The court then considered whether – even if relevant – the evidence of defective design

of the other parts or components should be excluded as more prejudicial than probative. Id. It

found “substantial risk” of unfair prejudice because, “There is substantial risk that the jury will

impermissibly infer that the left westgate elbow is defective because Cessna defectively designed

other components.” Id.

       Further, allowing the plaintiffs to present evidence of defective design of parts or

components for which GARA barred liability, would only “result in an unnecessary mini-trial”

regarding the alleged defects, even though the plaintiffs could not recover for such defects. Id.

In short, the court excluded evidence of design defects for which GARA barred recovery. Id. at

*9. “Plaintiffs can only offer evidence of defects in parts that were replaced within 18 years of

the accident.” Id.

       In the case at bar the only part that Plaintiff claims (1) was placed on the Subject Aircraft

within 18 years of the accident and (2) is causally related to the accident is a circuit board for the

right hand engine that she alleges was installed in March 2006. Her experts’ criticisms of the




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SLPS box, their generalized criticisms of the history that they say “plagued” the SLPS system,

its discontinued use later airframes and engines and any other evidence, expert opinion,

argument, or testimony concerning any other part should, therefore, be excluded from evidence

at trial.

            As in Sheesley, the evidence should be excluded both because it is irrelevant and because

whatever probative value it may have is substantially outweighed by the risk of unfair prejudice,

confusion of issues, and the danger of misleading the jury. The potential for unfair prejudice and

misleading the jury is very real in this case. If, for example, Plaintiff is permitted to offer

opinion testimony from her experts that: the SLPS box should “absolutely” be of a different

design; it is the “worst-designed box” that one of her experts has ever seen in his life; “whoever

designed this box, did not know anything about what they were doing;” and that the holes in the

box are “ridiculous” and “not useful;” then the jury might well believe that Plaintiff can recover

in this lawsuit if it finds that the SLPS box was, in fact, defectively designed. Alternatively, the

jury may believe that the circuit boards were defectively designed based solely on a finding that

the SLPS box was defective. (See Bloomfield Depo. at 72: 5–6; 73: 16–18; 74: 12-13; 132: 1-8,

Doc. 128.)

            Leaving aside the merits of those opinions, the admission of such testimony would be

highly prejudicial. Allowing such evidence would be squarely contrary to GARA’s conclusive

determination that aspects of the aircraft over 18 years are not defective because they have been

proven by the passage of time. It is undisputed that – even if the SLPS box was defectively

designed and even if the defect caused Plaintiff’s injuries – GARA precludes recovery for any

claim based upon a defect in anything other than the one circuit board Plaintiff claims was




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replaced in March 2006 (providing that Plaintiff can meet her burden of proof to show it was, in

fact, replaced within 18 years and that it is causally related to the accident).

       Nor should Plaintiff be heard to argue that the repose period for the SLPS box or the

system as a whole is somehow tolled if the rolling provision applies to the circuit board. E.g.,

Hiser v. Bell Helicopter Textron, Inc., 4 Cal.Rptr.3d 249 (Cal. Ct. App. 2003) (finding that the

repose period only rolls for an entire system if every part within the system is replaced). Here, it

is undisputed that the SLPS box was not replaced within 18 years of the accident.

       B.      The Florida Statute of Repose

       The Florida Statute of Repose also supports HBC’s motion in limine to exclude evidence

of defects in any part or component of the Subject Aircraft other than the one circuit board

Plaintiff claims was replaced in March 2006. Fla. Stat. § 95.031(2)(b). See Butchosky v.

Enstrom Helicopter Corp., 855 F. Supp. 1251, 1254, 1255 (S.D. Fla. 1993).

                                      III.    CONCLUSION

       WHEREFORE, HBC respectfully requests this Court’s order in limine to exclude from

trial the admission of any evidence, argument, reference, opinion, and/or argument (whether

direct or indirect), that any part, component, system, or subsystem of the Subject Aircraft – other

than the one circuit board she claims was replaced in March 2006 – was defective or was in any

manner causally related to Plaintiff’s claimed injuries in this case. HBC further requests this

Court grant its request for oral argument on the instant Motion, and for any other relief the Court

deems just and appropriate.

                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that pursuant to Local Rule 3.01(g), he has attempted

several times to confer with counsel for Plaintiff regarding the relief requested herein, but has

been unable to do so. Counsel for HBC further certifies that he will continue in his attempts to


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confer with Plaintiff’s counsel and will supplement the Motion with a statement certifying

whether or to what the extent the parties have resolved the issues presented herein.



                                             Respectfully submitted,


                                             /s/ L. Robert Bourgeois
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 4, 2010, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record or pro se parties identified on the attached

Service List in the manner specified either via transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are

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